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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                          CASE NO. 23-80101-CR-CANNON/REINHART

                                                     )
    UNITED STATES OF AMERICA,                        )
                                                     )
                     v.                              )
                                                     )
                                                     )
    WALTINE NAUTA,                                   )
                                                     )
                     Defendant.                      )
                                                     )

                                    NOTICE OF COMPLIANCE

         Defendant Waltine Nauta, by and through the undersigned counsel, files this Notice of

  Compliance pursuant to the Court’s Paperless Order entered on July 6, 2023, which requires, “all

  attorneys of record [to] complete all outstanding applicant tasks required to obtain the requisite

  security clearances in this matter” by July 13, 2023. (ECF No. 57). Notice is hereby given that,

  “all attorneys of record,” have “complete[d] all outstanding applicant tasks required to obtain the

  requisite security clearances in this matter.”

         By initiating the security clearance process, defense counsel expressly reserves, and does

  not intend to waive, any of Mr. Nauta’s rights under the Sixth Amendment to the Constitution,

  including the right to challenge any requirement that defense counsel obtain a security clearance

  as a condition of their representation of Mr. Nauta in this matter. See, e.g., United States v. Bin

  Laden, 58 F. Supp. 2d 113, 120-121 (S.D.N.Y. June 30, 1999) (“Although we recognize the

  Moving Defendants’ concern that the Government not be given the unfettered power to

  disqualify their present counsel, we think the procedures governing the clearance process, when

  combined with the Court’s vigilance in responding to questions of potential abuse in the
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  application process, will be sufficient to protect the Moving Defendants’ rights.”). To that end,

  the Classified Information Procedures Act, 18 U.S.C. App. § 1, et seq., specifically

  acknowledges that neither the Court nor any potential jurors in this action will be required to

  obtain security clearances. See 18 U.S.C. App. § 9, ¶6 (“Nothing contained in these procedures

  shall be construed to require an investigation or security clearance of the members of the jury or

  interfere with the functions of a jury, including access to classified information introduced as

  evidence in the trial of a case.”).

                                   [SIGNATURE ON NEXT PAGE]




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   Dated: July 13, 2023            Respectfully submitted,

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                                   Counsel for Defendant Waltine Nauta




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                                  Certificate of Electronic Service

         I hereby certify that on July 13, 2023, I electronically submitted the foregoing, via

  electronic mail, to counsel of record.

                                             Respectfully submitted,

                                                     /s/ Sasha Dadan
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